Case 23-60507-6-pgr               Doc 454 Filed 04/02/24 Entered 04/02/24 16:04:50                                      Desc
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  NORTHERN DISTRICT OF NEW YORK
  PDF FILE WITH AUDIO FILE ATTACHMENT

        23-60507

        The Roman Catholic Diocese of Ogdensburg, New York




        Case Type :                       bk
        Case Number :                     23-60507
        Case Title :                      The Roman Catholic Diocese of Ogdensburg, New York
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